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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHEASTERN DIVISION

United States of America,                      )
                                               )                  ORDER ON
                      Plaintiff,               )              DISCOVERY MOTIONS
                                               )
vs.                                            )
                                               )                  Criminal Case Nos.
Jorge Manuel Arandas, et. al,                  )                      3:06-cr-14;
                                               )
                      Defendants.              )
                                               )
United States of America,                      )
                                               )
                      Plaintiff,               )
                                               )                  3:06-cr-45-01; and
vs.                                            )
                                               )
Ramon Hernandez Martinez, a/k/a Razor,         )
                                               )
                      Defendant.               )
                                               )
United States of America,                      )
                                               )
                      Plaintiff,               )
                                               )
vs.                                            )                      3-07-cr-10
                                               )
Rosalba Botello-Ochoa, et. al,                 )
                                               )
                      Defendants.              )


       Before the Court are various motions pertaining to discovery. Defendant Tapia moved the

Court to Compel Meaningful Discovery (Doc. #516 in 3:06-cr-14), requesting such information as

transcripts, criminal records, and witness and exhibit lists. Defendant Arandas moved the Court to

Compel Usable Discovery (Doc. #594 in 3:06-cr-14), requesting hard copies of all discovery


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documents, transcripts, and indices. Defendants Gabriel Martinez and Ramon Martinez joined in

Arandas’s motion (Docs. #615 and 610, respectively, filed in 3:06-cr-14).

       The Court held a hearing on various continuance and discovery motions filed in Case 3:06-

cr-14 on April 12, 2007. The Court subsequently Ordered consolidation of the trial for Fernando

Andrew Tapia (3:06-cr-14-20) and Ramon Hernandez Martinez (3:06-cr-45-01) with the four

defendants in United States v. Botello-Ochoa, et. al., 3:07-cr-10. Unless otherwise specified, the

discovery issues raised here are relevant for all defendants who are awaiting trial in cases 3:06-cr-14,

3:06-cr-45, and 3:07-cr-10.

       Discovery in Paper Form. It is the Court’s understanding that seven attorneys have requested

the discovery in print form -- Mr. Hoy, Mr. Dickson, Mr. Sindel, Mr. Flagstad, Mr. Nodland, Mr.

Espeseth, and Mr. Meyer. This appears to be a reasonable and necessary expense, and the request

is therefore GRANTED.

       The Court is in possession of a single DVD containing virtually all the printed materials,

which it will provide to Sir Speedy, 123 University Drive N, Fargo, North Dakota. Sir Speedy shall

produce seven sets of black and white copies. At this point, no color photocopies will be permitted,

and no black and white reproductions of color photos are authorized. Therefore, the approximately

1,375 color pages will not be reproduced at this time, in any form, using CJA funding.

       The Court directs Attorney Robert Hoy to obtain photocopies for all seven requesting

attorneys. He shall then seek CJA funding for interim reimbursement via CJA Form 31, which the

Clerk’s office is directed to process immediately.

       Transcripts of Recorded Interviews. The Court has been informed that approximately 200



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hours of audio have been produced as part of the discovery in this case. Few transcripts have been

produced, and defense counsel has described the audio as muffled, garbled, and difficult to hear.

The Court does not conclude that the United States has an obligation to transcribe interviews. See

United States v. Gee, 695 F.2d 1165, 1167-69 (9th Cir. 1983); United States v. Parks, 100 F.3d 1300

(7th Cir. 1996). Nor does the Court have before it any precedent supporting a blanket authorization

for the transcription of any and all interviews. It is reasonable that defendants facing the death

penalty should have access to transcripts of the audio recordings. However, the United States has

not certified this case, as to any defendant, as a capital case. The Court is unwilling, at this point,

to authorize transcription of the recordings. If this case is certified as to one or more defendants,

counsel for those defendants may file specific, detailed motions indicating which interviews are

sought, the name of the individual or business that will so transcribe, and the expected cost. At this

point, however, the request for transcription is DENIED.

       Discovery Index. Numerous defendants have requested an index to the discovery materials

be provided by the government. Based on the statements made by Mr. Myers during the hearing,

such an index does not exist and the request is therefore DENIED. However, the United States is

strongly encouraged to assist the defense attorneys, especially those representing the so-called

“smaller players,” by indicating what interviews or portions of the discovery materials may tend to

contain information specifically relevant to a given defendant.

       Discovery Stipulations and Protective Orders. At this time, the Court is not persuaded that

the discovery stipulations and protective orders should be withdrawn. Concern for the health and

safety of the defendants, their attorneys, and other persons outweighs any harm caused by leaving



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the discovery stipulations in place. This request is therefore DENIED. However, the discovery

stipulations and protective orders will be modified by Order of this Court at a later date, as needed,

in order to allow defendants in custody access to discovery on government laptop computers.

       “Full and Complete Discovery.” The remaining issues presented by Defendants, including

concerns with Brady, Giglio, exhibit lists, witness lists, and plea agreements, are DENIED as

MOOT. No party has made a showing that the government is failing to follow the Rules of

Criminal Procedure or controlling precedent as it pertains to discovery, and the Court will not issue

an order on these items without such a showing.

       IT IS SO ORDERED.

       Dated this 22nd day of May, 2007.

                                                 /s/ Ralph R. Erickson
                                               Ralph R. Erickson, District Judge
                                               United States District Court




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